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APR l ll 2005
DoCKETNo. 1657

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CLERK‘S OFFICE

  

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CONDITIONAL TRANSFER 0RDER (CT -6) L°RETTC?E?&WH
On February 16, 2005, the Panel transferred 138 civil actions to the United States District Court for the
Eastern District of Louisiana for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C. §
1407. Since that time, 280 additional actions have been transferred to the Eastern District of Louisiana.
With the consent of that court, all such actions have been assigned to the Honorable Eldon E. Fallon.

It appears that the actions on this conditional transfer order involve questions of fact Whieh are common to
the actions previously transferred to the Eastern District of Louisiana and assigned to Judge Fallon.

Pursuant to Rule 7.4 of the Rules of Procedure of the Judicial Panel on Multidistrict Litigation, 199 F.R.D.
425, 435-36 (2001), these actions are transferred under 28 U.S.C. § 1407 to the Eastern District of
Louisiana for the reasons stated in the order of February 16, 2005, ____F.Supp.2d___ (J.P.M.L. 2005),
and, With the consent of that court, assigned to the Honorable Eldon E. Fallon.

This order does not become effective until it is filed in the Office of the Clerk of the United States District
Court for the Eastern District of Louisiana. The transmittal of this order to said Clerk shall be stayed
fitteen (15) days from the entry thereof and if any party files a notice of opposition with the Clerk of the
Panel Within this fifteen (15) day period, the stay will be continued until further order of the Panel.

FoR THE P`ANEL;

WO. eaja

Michael J. li¥eck
Clerk of the Panel

 

 

 

 

 

 

 

 

 

 

 

lnasmuch as no objection is CLERK'S OFF|CE
pending at this time, the s
stay islitted. A TRUE COPY __ Fee v
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MAY 4 2005 .
7 _ CtRmDep_-::,i§_t_
`*_------- _ DOC. No._____w,W
cLEnK's OFFrcE " D° "lY C'°".‘» U_-S- District Court
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Case 1:05-cv-01067-.]DT- TA Do m n Fi|e O 16/05 Pa eZofB Pa e|D 39
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EASTERN Dlsrnicr oF LoUisIANA
OFFICE oF THE CLERK

LoRRETTA G. WHYTE 500 PoYDRAs ST., SUITE C- 151
CLERK NEw ORLEANS, LA 70130

May 11, 2005

P*'£e,rs
Robert Di Trolio, Clerk \ "D 53,’!,
United States District Court \.._1
Western District of 'I`ennessee ll `\
167 N. Main sr., Room 242 /Al' l 6
Memphis, TN 38103 R 2005
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W. g gho`r,»§f;paof Cf

tn Re; MDL 1657 vioxx Products Liabiiiry Liagation L (3) N- Mé°i;§/j”’

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Dear Mr. Di Trolio:

Enclosed are certified copies of a transfer order received from the Multidistrict Litigation Panel
in Washington, D.C. lt instructs that the cases listed on the attached page be transferred to our district
for disposition pursuant to Title 28 USC l407, as soon as possible. Our office has assigned new civil
action numbers to these cases as referenced on the attached page.

DO NOT FORWARD THE ORIGINAL RECORD. The Honorable Eldon E. Fallon, U.S.
District Court Judge issued an order directing that the transfer of records consist of only a certified
copy of the complaint (including notice of removal, if applicable), any amendments, the docket sheet
and the MDL Transfer Order, together with a copy of the transfer letter be forwarded to the transferor

COUI`I.

Due to the high volume of cases involved in this litigation please provide paper copies of
the above documents instead of simply referring to your website. Your prompt attention in this
matter is greatly appreciated

Should you have any questions regarding this request, please contact Dina Guilbeau at
(504)589-7704.

 

Very tmly yours,
Loretta G. llerk
By

Deputy Clerk

Enclosures
cc: Judicial Panel on Multidistrict Litigation

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Your Case Nos. Case Title Our Case Nos.
: 5-1067 Pauline Tharpe, et al v. Merek & Co., Inc. 05-1796 L (3)>
1:05-1068 Charles l\/I. Flippln, et al v. Merclc &Co., Inc. 05-1797 L (3)
l:OS-l078 Rita Rutherford v. Merck & Co., Inc. 05-1798 L (3)
2:05-2189 Christian Jensen v. Merck & Co., Inc. 05-1799 L (3)

2:05-2191 Diane Mclntyre v. Merck & Co., Inc. 05-1800 L (3)

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 37 in
case 1:05-CV-01067 was distributed by faX, mail, or direct printing on
.lune 3, 2005 to the parties listedl

 

.l ames L. Wright
Mithoff & lacks7 P.C.
11 1 Congress Avenue
Suite 1010

Austin7 TX 78701

Pam Belevv

CIRCUIT COURT CLERK
Weakley County Courthouse
P.O. Box 28

Dresden7 TN 38225

.loseph R. Alexander
Mithoff & lacks
500 Dallis St.

Ste. 3450

Houston, TX 77002

Lela M. Hollabaugh

WALLER LANSDEN DORTCH & DAVIS
511 Union St.

Ste. 2700

Nashville, TN 37219--896

Thornas F. Preston

MCNABB BRAGORGOS & BURGESS, PLLC
81 Monroe Ave.

SiXth Floor

1\/lemphis7 TN 38103--540

Pam Warnock Green

MCNABB BRAGORGOS & BURGESS, PLLC
81 Monroe Ave.

SiXth Floor

1\/lemphis7 TN 38103--540

Case 1:05-cv-01067-.]DT-STA Document 37

T. Robert Hill

H[LL BOREN

1269 N. Highland Ave.
.lacl<son7 TN 38303--053

.l ames 1\/1. Doran

WALLER LANSDEN DORTCH & DAVIS
511 Union St.

Ste. 2700

Nashville, TN 37219--896

Steven G. Ohrvall

H[LL BOREN- .lackson
1269 N. Highland Ave.
P.O. Box 3539

.lacl<son7 TN 38303--353

Thornas M. Donnell

STEWART ESTES & DONNELL
424 Church St.

Ste. 1401

Nashville, TN 37219--239

Honorable .l ames Todd
US DISTRICT COURT

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